                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION

                                  )
CBD INDUSTRIES, LLC,              )
                                  )
                 Plaintiff,       )     Civil Action No. ______
                                  )
     v.                           )     JURY TRIAL DEMANDED
                                  )
MAJIK MEDICINE, LLC,              )
                                  )
                 Defendant.       )
                                  )

                                EXHIBIT E




    Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 1 of 13
                                                                                                                             Login       Sign-Up




Home   Laws   Bills        Sessions            House           Senate             Committees              Legislators            My Legis



                                                    <      RS 40:964          >




                      §964. Composition of schedules
                              Schedules I, II, III, IV, and V shall, unless and until added to pursuant to R.S. 40:962, consist of the
                      following drugs or other substances, by whatever official name, common or usual name, chemical name, or
                      brand name designated:
                                                                         SCHEDULE I
                              A. Opiates. Unless specifically excepted or unless listed in another schedule, any of the following
                      opiates, including their isomers, esters, ethers, salts, or salts of isomers, esters, and ethers, whenever the
                      existence of such isomers, esters, ethers, or salts is possible within the specific chemical designation:
                              *(1) Acetyl-alpha-methylfentanyl (N-[1-(1-methyl-2-phenethyl)-4-piperidinyl]-N-
                      phenylacetamide)
                              *(2) Acetylmethadol
                              *(3) Allylprodine
                              *(4) Alphacetylmethadol (except levo-alphacetylmethadol, also known as levomethadyl acetate, or
                      LAAM)
                              *(5) Alphameprodine
                              *(6) Alphamethadol
                              *(7) Alpha-methylfentanyl (N-[1-(alpha-methyl-beta-phenyl) ethyl-4-piperidyl] propionanilide; 1-(1-
                      methyl-2-phenylethyl)-4-(N-propanilido) piperidine)
                              *(8) Alpha-methylthiofentanyl (N-[1-methyl-2-(2-thienyl)ethyl-4-piperidinyl]-N-phenylpropanamide)
                              *(9) Benzethidine
                              *(10) Betacetylmethadol
                              *(11) Beta-hydroxyfentanyl (N-[1-(2-hydroxy-2-phenethyl)-4-piperidinyl]-N-phenylpropanamide)
                              *(12) Beta-hydroxy-3-methylfentanyl (N-[1-(2-hydroxy-2-phenethyl)-3-methyl-4-piperidinyl]-N-
                      phenylpropanamide)
                              *(13) Betameprodine
                              *(14) Betamethadol
                              *(15) Betaprodine
                              *(16) Clonitazene
                              *(17) Dextromoramide
                              *(18) Diampromide
                              *(19) Diethylthiambutene
                              *(20) Difenoxin
                              *(21) Dimenoxadol
                              *(22) Dimepheptanol
                              *(23) Dimethylthiambutene
                              *(24) Dioxaphetyl butyrate
                              *(25) Dipipanone
                              *(26) Ethylmethylthiambutene
                              *(27) Etonitazene
                              *(28) Etoxeridine
                              *(29) Furethidine
                              *(30) Hydroxypethidine
                              *(31) Ketobemidone
                              *(32) Levomoramide
                              *(33) Levophenacylmorphan
                              *(34) 3-Methylfentanyl (N-[3-methyl-1-(2-phenylethyl)-4-piperidyl]-N-phenylpropanamide)
                              *(35) 3-methylthiofentanyl (N-[3-methyl-1-(2-thienyl)ethyl-4-piperidinyl]-N-phenylpropanamide)
                              *(36) Morpheridine
                              *(37) MPPP (1-methyl-4-phenyl-4-propionoxypiperidine)
                              *(38) Noracymethadol
                              *(39) Norlevorphanol
                              *(40) Normethadone
                              *(41) Norpipanone
                              *(42) Para-fluorofentanyl (N-(4-fluorophenyl)-N-[1-(2-phenethyl)-4-piperidinyl] propanamide)
                              *(43) PEPAP (1-(-2-phenethyl)-4-phenyl-4-acetoxypiperdine)
                              *(44) Phenadoxone
       Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 2 of 13
                    *(45) Phenampromide
                    *(46) Phenomorphan
                    *(47) Phenoperidine
                    *(48) Piritramide
                    *(49) Proheptazine
                    *(50) Properidine
                    *(51) Propiram
                    *(52) Racemoramide
                    *(53) Thiofentanyl (N-phenyl-N-[1-(2-thienyl)ethyl-4-piperidinyl]-propanamide)
                    *(54) Tilidine
                    *(55) Trimeperidine
                    (56) (N-(1-phenethylpiperidin-4-yl)-N-phenylacetamide) (acetyl fentanyl)
                    *(57) U-47700 (3,4-dichloro-N-[2-(dimethylamino)cyclohexyl]-N-methylbenzamide)
                    *(58) Furanylfentanyl (N-phenyl-N-[1-(2-phenylethyl)piperidin-4-yl]furan-2-carboxamide)
                    *(59) Acrylfentanyl (N-[1-(2-phenylethyl)piperidin-4-yl]-N-phenylacrylamide)
                    *(60) 3,4-Dichloro-N-[[1-(dimethylamino)cyclohexyl]methyl]-benzamide (AH-7921)
                    *(61) Cyclopropyl fentanyl (N-(1-phenethylpiperidin-4-y1)-N-phenylcyclopropanecarboxamide)
                    (62) Methoxyacetylfentanyl (2-methoxy-N-[1-(2-phenylethyl)piperidin-4-yl]-N-phenylacetamide)
                    (63) Para-fluorobutyrylfentanyl (N-(4-fluorophenyl)-N-[1-(2-phenylethyl) piperidin-4-yl]butanamide)
                    (64) Tetrahydrofuranylfentanyl (N-phenyl-N-[1-(2-phenylethyl)piperidin-4-yl]tetrahydrofuran-2-
           carboxamide)
                    (65) U-49900 (3,4-dichloro-N-[2-(diethylamino)cyclohexyl]-N-methyl-benzamide)
                    (66) U-51754 (3,4-dichloro-N-[2-(dimethylamino)cyclohexyl]-N-methyl-benzeneacetamide)
                    (67) U-48800 (2,4-dichloro-N-[2-(dimethylamino)cyclohexyl]-N-methyl-benzeneacetamide)
                    (68) Butyryl fentanyl (N-(1-phenethylpiperidin-4-yl)-N-phenylbutyramide)
                    (69) 4-Fluoroisobutyryl fentanyl (N-(4-fluorophenyl)-N-(1-phenethylpiperidin-4-yl)isobutyramide)
                    (70) MT-45 (1-cyclohexyl-4-(1,2-diphenylethyl)piperazine)
                    (71) Ocfentanil (N-(2-fluorophenyl)-2-methoxy-N-(1-phenethylpiperidin-4-yl) acetamide)
                    B. Opium derivatives. Unless specifically excepted or unless listed in another schedule, any of the
           following opium derivatives, its salts, isomers, and salts of isomers whenever the existence of such salts,
           isomers, and salts of isomers is possible within the specific chemical designation:
                    *(1) Acetorphine
                    *(2) Acetyldihydrocodeine
                    *(3) Benzylmorphine
                    *(4) Codeine methylbromide
                    *(5) Codeine-N-Oxide
                    *(6) Cyprenorphine
                    *(7) Desomorphine
                    *(8) Dihydromorphine
                    *(9) Drotebanol
                    *(10) Etorphine, except hydrochloride salt
                    *(11) Heroin
                    *(12) Hydromorphinol
                    *(13) Methyldesorphine
                    *(14) Methyldihydromorphine
                    *(15) Morphine methylbromide
                    *(16) Morphine methylsulfonate
                    *(17) Morphine-N-Oxide
                    *(18) Myrophine
                    *(19) Nicocodeine
                    *(20) Nicomorphine
                    *(21) Normorphine
                    *(22) Pholcodine
                    *(23) Thebacon
                    C. Hallucinogenic substances. Unless specifically excepted or unless listed in another schedule, any
           material, compound, mixture, or preparation, which contains any quantity of the following hallucinogenic
           substances, or which contains any of their salts, isomers, or salts of isomers, whenever the existence of such
           salts, isomers, or salts of isomers is possible within the specific chemical designation, for purposes of this
           Paragraph only, the term "isomer" includes the optical, position, and geometric isomers:
                    (1) Alpha-ethyltryptamine
                    (2) 4-bromo-2,5-dimethoxyamphetamine
                    (3) 4-bromo-2,5-dimethoxyphenethylamine
                    (4) 2,5-dimethoxyamphetamine
                    (5) 2,5-dimethoxy-4-ethylamphetamine
                    (5.1) 2,5-dimethoxy-4-(n)-propylthiophenethylamine (2C-T-7)
                    (6) 4-methoxyamphetamine
                    (7) 5-methoxy-3,4-methylenedioxyamphetamine
                    (8) 4-methyl-2,5-dimethoxyamphetamine
                    (9) 3,4-methylenedioxyamphetamine
                    (10) 3,4-methylenedioxymethamphetamine (MDMA)
                    (11) 3,4-methylenedioxy-N-ethylamphetamine
Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 3 of 13
                  (12) N-hydroxy-3,4-methylenedioxyamphetamine
                  (13) 3,4,5-trimethoxy amphetamine
                  (13.1) Alphamethyltryptamine
                  (14) Bufotenine
                  (15) Diethyltryptamine
                  (16) Dimethyltryptamine
                  (16.1) 5-methoxy-N, N-diisopropyltryptamine
                  (17) Ibogaine
                  (18) Lysergic acid diethylamide
                  (19) Marihuana
                  (20) Mescaline
                  (21) Parahexyl, also known as Synhexyl
                  (22) Peyote
                  (23) N-ethyl-3-piperidyl benzilate
                  (24) N-methyl-3-piperidyl benzilate
                  (25) Psilocybin
                  (26) Psilocyn
                  (27) Tetrahydrocannabinols, including synthetic equivalents and derivatives, except for
           tetrahydrocannabinols in hemp
                  (28) Ethylamine analog of phencyclidine
                  (29) Pyrrolidine analog of phencyclidine
                  (30) Thiophene analog of phencyclidine
                  (31) 1-[1-(2-thienyl)cyclohexyl]pyrrolidine
                  (32) Repealed by Acts 2011, No. 420, §2, eff. July 15, 2011.
                  (33) N-(2-methoxybenzyl)-2,5-dimethoxy-4-iodophenethylamine (25I-NBOMe)
                  (34) 2,5-dimethoxy-4-iodophenethylamine (2C-I)
                  (35) 2,5-dimethoxy-4-chlorophenethylamine (2C-C)
                  (36) 2,5-dimethoxy-4-ethylphenethylamine (2C-E)
                  (37) 2,5-dimethoxy-4-methylphenethylamine (2C-D)
                  (38) 2,5-dimethoxy-4-ethylthiophenethylamine (2C-T-2)
                  (39) 2,5-dimethoxy-4-methylthiophenethylamine (2C-T)
                  (40) 2,5-dimethoxy-4-isopropylthiophenethylamine (2C-T-4)
                  (41) 2,5-dimethoxyphenethylamine (2C-H)
                  (42) 2,5-dimethoxy-4-nitrophenethylamine (2C-N)
                  (43) 2,5-dimethoxy-4-(n)-propylphenethylamine (2C-P)
                  (44) 4-Fluoroamphetamine (4-FA)
                  (45) 4-Fluoromethamphetamine (4-FMA)
                  (46) 6-(2-aminopropyl)-2,3-dihydrobenzofuran (6-APDB)
                  (47) 5-(2-aminopropyl)-2,3-dihydrobenzofuran (5-APDB)
                  (48) 5-(2-aminopropyl)benzofuran (5-APB)
                  (49) 6-(2-aminopropyl)benzofuran (6-APB)
                  (50) 5,6-methylenedioxy-2-aminoindane (MDAI)
                  (51) 5-iodo-2-aminoindane (5-IAI)
                  (52) 4-hydroxy-N,N-diisopropyltryptamine (4-HO-DIPT)
                  (53) 5-methoxy-N,N-dimethyltryptamine (5-MEO-DMT)
                  (54) 5-methoxy-N-methyl-N-isopropyltryptamine (5-MEO-MIPT)
                  (55) 5-methoxy-N,N-diallyl-tryptamine (5-MEO-DALT)
                  (56) Diisopropyltryptamine (DIPT)
                  (57) 2-(ethylamino)-2-(3-methoxyphenyl)cyclohexanone (Methoxetamine)
                  (58) N-(2-methoxybenzyl)-2,5-dimethoxy-4-chlorophenethylamine (25C-NBOMe)
                  (59) N-(2-hydroxybenzyl)-2,5-dimethoxy-4-iodophenethylamine (25I-NBOH)
                  (60) 4-bromo-2,5-dimethoxyphenethylamine (2C-B)
                  (61) N-(2-methoxybenzyl)-2,5-dimethoxy-4-bromophenethylamine (25B-NBOMe)
                  (62) 5-(2-methylaminopropyl)benzofuran (5-MAPB)
                  (63) 4-hydroxy-N-methyl-N-isopropyltryptamine (4-Hydroxy-MIPT)
                  (64) Deschloroketamine (2-phenyl-2(methylamino) cyclohexanone)
                  (65) Deschloro-N-ethyl-ketamine (2-(ethylamino)-2-phenylcyclohexan-1-one)
                  D. Depressants. Unless specifically excepted or unless listed in another schedule, any material,
           compound, mixture, or preparation which contains any quantity of the following substances having a
           depressant effect on the central nervous system, including its salts, isomers, and salts of isomers whenever the
           existence of such salts, isomers, and salts of isomers is possible within the specific chemical designation:
                  (1) Clonazolam
                  (2) Etizolam
                  (3) Flualprazolam
                  (4) Gamma-hydroxybutyric acid (GHB)
                  (5) Mecloqualone
                  (6) Methaqualone
                  (7) Phenazepam
                  E. Stimulants. Unless specifically excepted, or contained within a pharmaceutical product approved
           by the United States federal Food and Drug Administration, or unless listed in another schedule, any material,
           compound, mixture, or preparation which contains any quantity of the following substances having a
Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 4 of 13
           stimulant effect on the central nervous system including its salts, isomers, esters, or ethers and salts of
           isomers, esters, or ethers whenever the existence of such salts, isomers, esters, or ethers and salts of isomers,
           esters, or ethers is possible within the specific chemical designation:
                   (1) Aminorex
                   (2) Cathinone
                   (3) Fenethylline
                   (4) Methcathinone
                   (5) (+)cis-4-methylaminorex
                   (5.1) N-Benzylpiperazine (BZP)
                   (6) N-ethylamphetamine
                   (7) N,N-dimethylamphetamine
                   (8) Naphthylpyrovalerone whether or not further substituted in the naphthyl ring to any extent with
           alkyl, alkoxy, alkylenedioxy, haloalkyl or halide substituents, whether or not further substituted in the
           naphthyl ring by one or more other univalent substituents or whether or not further substituted in the carbon
           chain at the 3, 4, or 5 position with an alkyl substituent.
                   (9) 2-amino-1-phenyl-1-propanone (cathinone) or variation in any of the following ways:
                   (i) By substitution in the phenyl ring to any extent with alkyl, hydroxyl alkoxy, alkylenedioxy,
           haloalkyl or halide substituents, whether or not further substituted in the phenyl ring by one or more other
           univalent substituents.
                   (ii) By substitution at the 3-position with an alkyl substituent.
                   (iii) By substitution at the 2-amino nitrogen atom with alkyl, dialkyl, benzyl, or methoxybenzyl
           groups, or by inclusion of the 2-amino nitrogen atom in a cyclic structure.
                   (10) 2-(pyrrolidin-1-yl)-1-(thiophen-2-yl)butan-1-one (Alpha-PBT)
                   (11) 2-(pyrrolidin-1-yl)-1-(thiophen-2-yl)pentan-1-one (Alpha-PVT)
                   F. Synthetic cannabinoids. Unless specifically excepted, or contained within a pharmaceutical product
           approved by the United States Food and Drug Administration, or unless listed in another schedule, any
           material, compound, mixture, or preparation, which contains any quantity of a synthetic cannabinoid found to
           be in any of the following individual compounds or chemical groups, or any of those individual compounds
           or groups which contain any synthetic cannabinoid salts, isomers, salts of isomers, or nitrogen-heterocyclic
           analogs, whenever the existence of such salts, isomers, salts of isomers, or nitrogen-heterocyclic analogs is
           possible within the specific compounds or chemical groups:
                   (1) Naphthoylindoles: any compound containing a 3-(1-naphthoyl)indole structure, whether or not
           substituted in the indole ring to any extent or the naphthyl ring to any extent.
                   (2) Naphthylmethylindoles: any compound containing a 1-H-indol-3-yl-(1-naphthyl)methane
           structure, whether or not substituted in the indole ring to any extent or the naphthyl ring to any extent.
                   (3) Naphthoylpyrroles: any compound containing a 3-(1-naphthoyl)pyrrole structure, whether or not
           substituted in the pyrrole ring to any extent or the naphthyl ring to any extent.
                   (4) Naphthylmethylindenes: any compound containing a 1-(1-naphthylmethyl)indene structure,
           whether or not substituted in the indene ring to any extent or the naphthyl ring to any extent.
                   (5) Phenylacetylindoles: any compound containing a 3-phenylacetylindole structure, whether or not
           substituted in the indole ring to any extent or the phenyl ring to any extent.
                   (6) Cyclohexylphenols: any compound containing a 2-(3-hydroxycyclohexyl)phenol structure,
           whether or not substituted in the cyclohexyl ring to any extent or the phenyl ring to any extent.
                   (7) Benzoylindoles: any compound containing a 3-(benzoyl)indole structure, whether or not
           substituted in the indole ring to any extent or the phenyl ring to any extent.
                   (8) Tetrahydrodibenzopyrans whether or not substituted in the tricyclic ring system except where
           contained in cannabis or cannabis resin.
                   (9) Hexahydrodibenzopyrans whether or not substituted in the tricyclic ring system except where
           contained in cannabis or cannabis resin.
                   (10) Cyclopropanoylindoles: any compound containing a 3-(cyclopropanoyl)indole structure, whether
           or not substituted in the indole ring to any extent or the cyclopropyl ring to any extent.
                   (11) Adamantoylindoles: any compound containing a 3-(1-adamantoyl)indole structure, whether or
           not further substituted in the indole ring to any extent or whether or not substituted in the adamantyl ring to
           any extent.
                   (12) Naphthylamidoindoles: any compound containing a N-(naphthyl)-1H-indole-3-carboxamide
           structure, whether or not further substituted in the indole ring to any extent or whether or not substituted in
           the naphthyl ring to any extent.
                   (13) Quinolinylindolecarboxylates: any compound containing a quinolin-8-yl-1H-indole-3-
           carboxylate or isoquinolin-8-yl-1H-indole-3-carboxylate structure, whether or not further substituted in the
           indole, quinloline, or isoquinoline ring to any extent.
                   (14) Adamantylamidoindoles: Any compound containing a N-(adamantyl)-1H-indole-3-carboxamide
           structure, whether or not further substituted in the indole ring to any extent or whether or not substituted in
           the adamantyl ring to any extent.
                   (15) Naphthylindolecarboxylates: Any compound containing a naphthyl-1H-indole-3-carboxylate
           structure, whether or not further substituted in the indole ring or the naphthyl ring to any extent.
                   (16) Benzylindolecarboxamides: Any compound containing a N-benzyl-1H-indole-3-carboxamide
           structure, whether or not further substituted in the indole ring or the phenyl ring to any extent.
                   (17) Quinolinylindolecarboxamides: Any compound containing a N-quinolinyl-1H-indole-3-
           carboxamide or N-isoquinolinyl-1H-indole-3-carboxamide structure, whether or not further substituted in the
           indole, quinoline or the isoquinoline ring to any extent.
                   (18) Phenylindolecarboxamides: Any compound containing a N-phenyl-1H-indole-3-carboxamide
           structure, whether or not further substituted in the indole ring or the phenyl ring to any extent.
Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 5 of 13
                      (19) Butaldehydeamidoindoles: Any compound containing a N-(1-oxobutan-2yl)-1H-indole-3-
              carboxamide structure, with or without substitution in the indole ring by an alkyl, haloalkyl, cyanoalkyl,
              alkoxy, aryl, aryl halide, alkylarylhalide, cycloalkymethyl, cycloalkylethyl, alkenyl, haloalkenyl, aliphatic
              alcohol, hydroxyl, morpholinoethyl, alkylmorpholinomethyl, alkylpiperidinylmethyl or a
              tetrahydropyranylmethyl group, whether or not further substituted on the butaldehyde group to any extent.
                      (20) Phenylpropionaldehydeamidoindoles: Any compound containing a N-(1-oxo-3-phenylpropan-
              2yl)-1H-indole-3-carboxamide structure, with or without substitution in the indole ring by an alkyl, haloalkyl,
              cyanoalkyl, alkoxy, aryl, aryl halide, alkylarylhalide, cycloalklymethyl, cycloalkylethyl, alkenyl, haloalkenyl,
              aliphatic alcohol, hydroxyl, morpholinoethyl, alkylmorpholinomethyl, alkylpiperidinylmethyl or a
              tetrahydropyranylmethyl group, whether or not further substituted on the phenylpropionaldehyde group to
              any extent.
                      (21) Cumylindolecarboxamides: Any compound containing a N-(2-phenylpropane-2-yl)-1H-indole-3-
              carboxamide structure, with or without substitution in the indole ring by an alkyl, haloalkyl, cyanoalkyl,
              alkoxy, aryl, aryl halide, alkylarylhalide, cycloalkymethyl, cycloalkylethyl, alkenyl, haloalkenyl, aliphatic
              alcohol, hydroxyl, morpholinoethyl, alkylmorpholinomethyl, alkylpiperidinylmethyl or a
              tetrahydropyranylmethyl group, whether or not further substituted on the phenyl group to any extent.
                      (22) (1-(5-fluoropentyl)-1H-benzimidazol-2-yl)(naphthalen-1-yl) methanone
                      (23) (4-methylpiperazin-1-yl)(1-pentyl-1H-indol-3-yl) methanone
                      (24) 1-(5-fluoropentyl)N-naphthalen-1-yl)-1H-pyrrolo[3,2-c]pyridine-3-
              carboxamide
                      (25) N-fenchyl-1-[2-(morpholin-4-yl)ethyl]-7-methoxyindole-3-carboxamide
                      (26) naphthalen-1-yl(9-pentyl-9H-carbazol-3-yl)methanone
                      (27) naphthalen-1-yl(9-(5-fluoropentyl)-9H-carbazol-3-yl)methanone
                      (28) 1-methoxy-3,3-dimethyl-1-oxobutanyl-2yl-(1-cyclohexylmethyl)- 1H-indazole-3-carboxylate
                      NOTE: Subsection (G) eff. when the United States Drug Enforcement Administration
                      classifies Mitragynine as a Schedule I Controlled Dangerous Substance. See Acts 2019, No.
                      231.
                      G. Miscellaneous. Unless specifically excepted or contained within a pharmaceutical product
              approved by the United States Food and Drug Administration, or unless listed in another schedule, any
              material, compound, mixture, or preparation which contains any quantity of the following substances
              including its salts, isomers, or salts of isomers, whenever the existence of such salts, isomers, or salts of
              isomers is possible within the specific chemical designation:
                      (1) Mitragynine
                      (2) 7-Hydroxy-mitragynine
                                                                 SCHEDULE II
                      A. Substances of vegetable origin or chemical synthesis. Unless specifically excepted or unless listed
              in another schedule, any of the following substances whether produced directly or indirectly by extraction
              from substances of vegetable origin, or independently by means of chemical synthesis, or by a combination
              of extraction and chemical synthesis:
                      (1) Opium and opiate, and any salt, compound, derivative, or preparation of opium or opiate,
              excluding apomorphine, thebaine-derived butorphanol, dextrorphan, nalbuphine, naldemedine, nalmefene,
              naloxegol, naloxone, 6β-naltrexol, and naltrexone, and their respective salts, but including the following:
                      (a) Raw opium
                      (b) Opium extracts
                      (c) Opium fluid extracts
                      (d) Powdered opium
                      (e) Granulated opium
                      (f) Tincture of opium
                      (g) Repealed by Acts 1999, No. 755, §2.
                      (h) Codeine
                      (i) Dihydroetorphine
                      (j) Ethylmorphine
                      (k) Etorphine hydrochloride
                      (l) Hydrocodone
                      (m) Hydromorphone
                      (n) Metopon
                      (o) Morphine
                      (p) Oxycodone
                      (q) Oxymorphone
                      (r) Thebaine
                      (s) Oripavine
                      (2) Any salt, compound, isomer, derivative, or preparation thereof which is chemically equivalent or
              identical with any of the substances referred to in Paragraph (1), except that these substances shall not include
              the isoquinoline alkaloids of opium.
                      (3) Opium poppy and poppy straw.
                      (4) Coca leaves, and any salt, compound, derivative, or preparation of coca leaves (including cocaine
              ecgonine and their salts, isomers, derivatives and salts of isomers and derivatives), and any salt, compound,
              derivative, or preparation thereof which is chemically equivalent or identical with any of these substances,
              except that the substances shall not include:
                      (a) Decocainized coca leaves or extraction of coca leaves, which extractions do not contain cocaine or
              ecgonine.
                      (b) Ioflupane, with and without radioisotopes.
Case                  (5) Repealed by Acts 2001,
       3:21-cv-00069-RJC-DCK                        No. 282, §2.
                                              Document         1-5 Filed 02/12/21 Page 6 of 13
                      (6) Concentrate of poppy straw (the crude extract of poppy straw in either liquid, solid, or powder
              form which contains the phenanthrene alkaloids of the opium poppy).
                      B. Opiates. Unless specifically excepted or unless listed in another schedule, any of the following
              opiates, including its isomers, esters, ethers, salts, and salts of isomers, esters, ethers, and salts is possible
              within the specific chemical designation, dextrorphan and levopropoxyphene excepted:
                      (1) Alfentanil
                      (2) Alphaprodine
                      (3) Anileridine
                      (4) Bezitramide
                      (5) Bulk Dextropropoxyphene (non-dosage forms)
                      (6) Carfentanil
                      (7) Dihydrocodeine
                      (8) Diphenoxylate
                      (9) Fentanyl
                      (10) Isomethadone
                      (11) Levo-alphacetylmethadol
                      (12) Levomethorphan
                      (13) Levorphanol
                      (14) Metazocine
                      (15) Methadone
                      (16) Methadone-intermediate, 4-cyano-2-dimethylamino-4,4-diphenylbutane
                      (17) Moramide-intermediate, 2-methyl-3-morpholino-1,1-diphenylpropane-
              carboxylic acid
                      (18) Pethidine (meperidine)
                      (19) Pethidine-intermediate-A, 4-cyano-1-methyl-4-phenyl-piperidine
                      (20) Pethidine-intermediate-B, ethyl-4-phenylpiperidine-4-carboxylate
                      (21) Pethidine-intermediate-C, 1-methyl-4-phenylpiperidine-4-carboxylic acid
                      (22) Phenazocine
                      (23) Piminodine
                      (24) Racemethorphan
                      (25) Racemorphan
                      (26) Remifentanil
                      (27) Sufentanil
                      (28) Tapentadol
                      (29) Thiafentanil
                      C. Stimulants. Unless specifically excepted or unless listed in another schedule, any material,
              compound, mixture, or preparation which contains any quantity of the following substances having a
              stimulant effect on the central nervous system:
                      (1) Amphetamine, its salts, optical isomers, and salts of its optical isomers
                      (2) Methamphetamine, its salts, isomers, and salts of its isomers
                      (3) Phenmetrazine and its salts
                      (4) Methylphenidate
                      (5), (6) Repealed by Acts 1999, No. 755, §2.
                      (7) Lisdexamfetamine, its salts, isomers, and salts of its isomers
                      D.(1) Depressants. Unless specifically excepted or unless listed in another schedule, any material,
              compound, mixture, or preparation which contains any quantity of the following substances having a
              depressant effect on the central nervous system, including its salts, isomers, or salts of isomers, whenever the
              existence of such salts, isomers, and salts of isomers is possible within the specific chemical designation:
                      (a) Amobarbital
                      (b) Carisoprodol
                      (c) Glutethimide
                      (d) Pentobarbital
                      (e) Phencyclidine
                      (f) Secobarbital
                      (2) A wholesale drug distributor licensed by the Louisiana Board of Pharmacy and registered with the
              United States Drug Enforcement Administration shall be exempt from the storage, reporting, record keeping,
              and physical security requirements for any material, mixture, compound, or preparation which contains any
              quantity of Carisoprodol.
                      E. Immediate precursors.
                      (1) Unless specifically excepted or unless listed in another schedule, any material, compound,
              mixture, or preparation which contains any quantity of the following substances:
                      (a) Immediate precursors to amphetamine and methamphetamine: phenylacetone.
                      (b) Immediate precursors to phencyclidine (PCP):
                      (i) 1-phenylcyclohexylamine;
                      (ii) 1-piperidinocyclohexanecarbonitrile (PCC).
                      (c) Immediate precursor to fentanyl:
                      (i) 4-anilino-N-phenethyl-4-piperidine (ANPP)
                      (ii) Norfentanyl (N-phenyl-N-(piperidin-4-yl)propionamide)
                      (2) For purposes of this Subsection, possession of immediate precursors sufficient for the manufacture
              of phenylacetone, piperidine, or cyclohexanone shall be deemed to be possession of such a derivative
              substance.
Case                  F. Hallucinogenic substances:
       3:21-cv-00069-RJC-DCK                 Document 1-5 Filed 02/12/21 Page 7 of 13
                   (1) Nabilone
                   (2) Dronabinol [delta-9-trans tetrahydrocannabinol] in an oral solution in a drug product approved for
           marketing by the United States Food and Drug Administration.
                   NOTE: Subsection (G) eff. when the United States Drug Enforcement Administration
                   classifies Mitragynine as a Schedule II Controlled Dangerous Substance. See Acts 2019, No.
                   231.
                   G. Miscellaneous. Unless specifically excepted or contained within a pharmaceutical product
           approved by the United States Food and Drug Administration, or unless listed in another schedule, any
           material, compound, mixture, or preparation which contains any quantity of the following substances
           including its salts, isomers, or salts of isomers, whenever the existence of such salts, isomers, or salts of
           isomers is possible within the specific chemical designation:
                   (1) Mitragynine
                   (2) 7-Hydroxy-mitragynine
                                                             SCHEDULE III
                   A. Stimulants. Unless specifically excepted or unless listed in another schedule, any material,
           compound, mixture, or preparation which contains any quantity of the following substances having a
           stimulant effect on the central nervous system:
                   (1) Benzphetamine
                   (2) Chlorphentermine
                   (3) Clortermine
                   (4) Repealed by Acts 1982, No. 92, §2.
                   (5) Repealed by Acts 2008, No. 67, §2.
                   (6) Phendimetrazine
                   B. Depressants. Unless specifically excepted or unless listed in another schedule, any material,
           compound, mixture, or preparation which contains any quantity of the following substances having a
           depressant effect on the central nervous system:
                   (1) Any compound, mixture, or preparation containing:
                   (a) Amobarbital
                   (b) Secobarbital
                   (c) Pentobarbital or any salt thereof and one or more active medicinal ingredients which are not listed
           in any schedule.
                   (2) Any suppository dosage form containing:
                   (a) Amobarbital
                   (b) Secobarbital
                   (c) Pentobarbital or any salt of any of these drugs and approved by the federal Food and Drug
           Administration for marketing only as a suppository.
                   (3) Any substance which contains any quantity of a derivative of barbituric acid, or any salt thereof,
           but not including butalbital when in combination with at least three hundred twenty-five milligrams of
           acetaminophen per dosage unit.
                   (4) Chlorhexadol
                   (5) Embutramide
                   (6) Any drug product containing gamma hydroxybutyric acid, including its salts, isomers, and salts of
           isomers, which has been approved by the federal Food and Drug Administration.
                   (7) Ketamine, its salts, isomers, and salts of isomers
                   (8) Lysergic acid
                   (9) Lysergic acid amide
                   (10) Methyprylon
                   (11) Sulfondiethylmethane
                   (12) Sulfonethylmethane
                   (13) Sulfonmethane
                   (14) Tiletamine and zolazepam or any salt thereof
                   (15) Perampanel
                   C. Nalorphine
                   D. Limited narcotic drugs. Unless specifically excepted or unless listed in another schedule:
                   (1) Any material, compound, mixture, or preparation containing limited quantities of any of the
           following narcotic drugs, or any salts thereof:
                   (a) Not more than 1.8 grams of codeine per 100 milliliters or not more than 90 milligrams per dosage
           unit with an equal or greater quantity of an isoquinoline alkaloid of opium.
                   (b) Not more than 1.8 grams of codeine per 100 milliliters or not more than 90 milligrams per dosage
           unit, with one or more active, nonnarcotic ingredients in recognized therapeutic amounts.
                   (c), (d) Repealed by Acts 2015, No. 189, §2, eff. June 23, 2015.
                   (e) Not more than 1.8 grams of dihydrocodeine per 100 milliliters or not more than 90 milligrams per
           dosage unit, with one or more active, nonnarcotic ingredients in recognized therapeutic amounts.
                   (f) Not more than 300 milligrams of ethylmorphine per 100 milliliters or not more than 15 milligrams
           per dosage unit, with one or more active, nonnarcotic ingredients in recognized therapeutic amounts.
                   (g) Not more than 500 milligrams of opium per 100 milliliters or per 100 grams, or not more than 25
           milligrams per dosage unit, with one or more active, nonnarcotic ingredients in recognized therapeutic
           amounts.
                   (h) Not more than 50 milligrams of morphine per 100 milliliters or per 100 grams, with one or more
           active nonnarcotic ingredients in recognized therapeutic amounts.
                   (2) Any material, compound, mixture, or preparation containing any of the following narcotic drugs
           or their salts:
Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 8 of 13
                    (a) Buprenorphine
                    E. Anabolic steroids and muscle building substances. Unless specifically excepted or unless listed in
           another schedule, any material, compound, mixture, or preparation, containing any quantity of the following
           substances, including its salts, esters, ethers, isomers, and salts of isomers whenever the existence of such
           salts, esters, ethers, isomers, and salts of isomers is possible within the specific chemical designation. The
           term "anabolic steroid" means any drug or hormonal substance, chemically and pharmacologically related to
           testosterone, other than estrogens, progestins, corticosteroids, and dehydroepiandrosterone that promote
           muscle growth and include the following:
                    (1) 3β,17-dihydroxy-5a-androstane
                    (2) 3α,17β-dihydroxy-5a-androstane
                    (3) 5α-androstan-3,17-dione
                    (4) 3β,17β-dihydroxy-5α-androst-1-ene
                    (5) 3α,17β-dihydroxy-5α-androst-1-ene
                    (6) 4-androstenediol
                    (7) 5-androstenediol
                    (8) 1-androstenedione
                    (9) 4-androstenedione
                    (10) 5-androstenedione
                    (11) Bolasterone
                    (12) Boldenone
                    (12.1) Boldione
                    (13) Calusterone
                    (14) Clostebol
                    (15) Dehydrochloromethyltestosterone
                    (15.1) Desoxymethyltestosterone
                    (16) Δ1-dihydrotestosterone
                    (17) 4-dihydrotestosterone
                    (18) Drostanolone
                    (19) Ethylestrenol
                    (20) Fluoxymesterone
                    (21) Formebolone
                    (22) Furazebol
                    (23) 13β-ethyl-17α-hydroxygon-4-en-3-one
                    (24) 4-hydroxytestosterone
                    (25) 4-hydroxy-19-nortestosterone
                    (26) Mestanolone
                    (27) Mesterolone
                    (28) Methandienone
                    (29) Methandriol
                    (29.1) Methasterone (2,17α-dimethyl-5α-androstan-17α-ol-3-one)
                    (30) Methenolone
                    (31) 17α-methyl-3β,17β-dihydroxy-5a-androstane
                    (32) 17α-methyl-3α,17β-dihydroxy-5a-androstane
                    (33) 17α-methyl-3β,17β-dihydroxyandrost-4-ene
                    (34) 17α-methyl-4-hydroxynandrolone
                    (35) Methyldienolone
                    (36) Methyltrienolone
                    (37) Methyltestosterone
                    (38) Mibolerone
                    (39) 17α-methyl-Δ1-dihydrotestosterone
                    (40) Nandrolone
                    (41) 3β,17β-dihydroxyestr-4-ene
                    (42) 3α,17β-dihydroxyestr-4-ene
                    (43) 3β,17β-dihydroxyestr-5-ene
                    (44) 3α,17β-dihydroxyestr-5-ene
                    (44.1) 19-nor-4, 9(10)-androstadienedione
                    (45) 19-nor-4-androstenedione
                    (46) 19-nor-5-androstenedione
                    (47) Norbolethone
                    (48) Norclostebol
                    (49) Norethandrolone
                    (50) Normethandrolone
                    (51) Oxandrolone
                    (52) Oxymesterone
                    (53) Oxymetholone
                    (53.1) Prostanozol (17α-hydroxy-5α-androstano[3,2-c]pyrazole)
                    (54) Stanozolol
                    (55) Stenbolone
                    (56) Testolactone
                    (57) Testosterone
                    (58) Tetrahydrogestrinone
Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 9 of 13
                    (59) Trenbolone
                    F.(1) Except as provided in Paragraph (2) of this Schedule, the term anabolic steroid does not include
           a substance listed in Subsection E of this Section but which is expressly intended for administration to
           livestock or other nonhuman species and which has been approved by the secretary for such an
           administration.
                    (2) If any person prescribes, dispenses, or distributes such steroid for human use, such person shall be
           considered to have prescribed, dispensed, or distributed an anabolic steroid within the meaning of Subsection
           E of this Schedule.
                    (3) A physician, dentist, or veterinarian shall not prescribe, dispense, deliver, or administer an
           anabolic steroid for human use or cause an anabolic steroid to be administered under his direction or
           supervision for human use except for a valid medical purpose and when required by demonstrable generally
           accepted medical indications. Bodybuilding, muscle enhancement, or increasing muscle bulk or strength
           through the use of an anabolic steroid by a person who is in good health is hereby declared not a valid
           medical purpose.
                    G. Substances of vegetable origin or chemical synthesis. Unless specifically excepted or unless listed
           in another schedule, any of the following substances whether produced directly or indirectly by extraction
           from substances of vegetable origin, or independently by means of chemical synthesis, or by a combination
           of extraction and chemical synthesis:
                    (1) Synthetic Dronabinol [delta-9-(trans) tetrahydrocannabinol] in sesame oil and encapsulated in a
           soft gelatin capsule in a United States Food and Drug Administration approved product.
                    NOTE: Subsection (H) eff. when the United States Drug Enforcement Administration
                    classifies Mitragynine as a Schedule III Controlled Dangerous Substance. See Acts 2019, No.
                    231.
                    H. Miscellaneous. Unless specifically excepted or contained within a pharmaceutical product
           approved by the United States Food and Drug Administration, or unless listed in another schedule, any
           material, compound, mixture, or preparation which contains any quantity of the following substances
           including its salts, isomers, or salts of isomers, whenever the existence of such salts, isomers, or salts of
           isomers is possible within the specific chemical designation:
                    (1) Mitragynine
                    (2) 7-Hydroxy-mitragynine
                                                             SCHEDULE IV
                    A. Narcotic drugs. Unless specifically excepted or unless listed in another schedule, any material,
           compound, mixture, or preparation containing any of the following narcotic drugs, or their salts, in limited
           quantities, as set forth below:
                    (1) Not more than 1 milligram of difenoxin and not less than 25 micrograms of atropine sulfate per
           dosage unit.
                    (2) Dextropropoxyphene.
                    (3) Tramadol (2-[(dimethylamino)methyl]-1-(3-methoxyphenyl) cyclohexanol), its salts, isomers, and
           salts of its isomers.
                    B. Depressants. Unless specifically excepted or unless listed in another schedule, any material,
           compound, mixture, or preparation containing any quantity of the following substances, including its salts,
           isomers, and salts of isomers, whenever the existence of such salts, isomers, and salts of isomers is possible
           within the specific chemical designation:
                    (1) Alfaxalone
                    (2) Alprazolam
                    (3) Barbital
                    (4) Brexanolone
                    (5) Bromazepam
                    (6) Camazepam
                    (7) Chloral betaine
                    (8) Choral hydrate
                    (9) Chlordiazepoxide, but not including chlordiazepoxide hydrochloride in combination with
           clidinium bromide, or chlordiazepoxide and water-soluble esterified estrogens.
                    (10) Clobazam
                    (11) Clonazepam
                    (12) Clorazepate
                    (13) Clotiazepam
                    (14) Cloxazolam
                    (15) Delorazepam
                    (16) Diazepam
                    (17) Dichloralphenazone
                    (18) Estazolam
                    (19) Ethchlorvynol
                    (20) Ethinamate
                    (21) Ethyl loflazepate
                    (22) Fludiazepam
                    (23) Flunitrazepam
                    (24) Flurazepam
                    (25) Fospropofol
                    (26) Halazepam
                    (27) Haloxazolam
                    (28) Ketazolam
Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 10 of 13
                    (29) Lemborexant
                    (30) Loprazolam
                    (31) Lorazepam
                    (32) Lormetazepam
                    (33) Mebutamate
                    (34) Medazepam
                    (35) Meprobamate
                    (36) Methohexital
                    (37) Methylphenobarbital (mephobarbital)
                    (38) Midazolam
                    (39) Nimetazepam
                    (40) Nitrazepam
                    (41) Nordiazepam
                    (42) Oxazepam
                    (43) Oxazolam
                    (44) Paraldehyde
                    (45) Petrichloral
                    (46) Phenobarbital
                    (47) Pinazepam
                    (48) Prazepam
                    (49) Quazepam
                    (50) Suvorexant
                    (51) Temazepam
                    (52) Tretrazepam
                    (53) Triazolam
                    (54) Zaleplon
                    (55) Zolpidem
                    (56) Zopiclone
                    C. Fenfluramine. Any material, compound, mixture, or preparation which contains any quantity of the
           following substances, including its salts, isomers (whether optical, position, or geometric), and salts of
           isomers, whenever the existence of such salts, isomers, and salts of isomers including Fenfluramine is
           possible.
                    D. Stimulants. Unless specifically excepted or unless listed in another schedule, any material,
           compound, mixture, or preparation which contains any quantity of the following substances, including its
           salts, isomers, and salts of isomers:
                    (1) Cathine (norpseudoephedrine)
                    (2) Diethylpropion
                    (3) Fencamfamin
                    (4) Fenproporex
                    (5) Mazindol
                    (6) Mefenorex
                    (7) Modafinil
                    (8) Pemoline (including organometallic complexes and chelates thereof)
                    (9) Phentermine
                    (10) Pipradrol
                    (11) Sibutramine
                    (12) SPA [(-)-1-dimethylamino-1,2-diphenylethane]
                    (13) Lorcaserin
                    (14) Solriamfetol (2-amino-3-phenylpropyl carbamate; benzenepropanol, beta-amino-,carbamate
           (ester))
                    E. Other substances. Unless specifically excepted or unless listed in another schedule, any material,
           compound, mixture, or preparation which contains any quantity of the following substances, including its
           salts:
                    (1) Pentazocine
                    (2) Butorphanol (including its optical isomers)
                    (3) Eluxadoline (5-[[[2-amino-3-[(4-aminocarbonyl)-2,6-dimethylphe
           nyl]-1-oxopropyl][1-(4-phenyl-1H-imidazol-2-yl)theyl]amino]methyl]-2-methoxybenzoic acid) (including its
           optical isomers) and its salts, isomers, and salts of isomers.
                    NOTE: Subsection (F) eff. when the United States Drug Enforcement Administration
                    classifies Mitragynine as a Schedule IV Controlled Dangerous Substance. See Acts 2019, No.
                    231.
                    F. Miscellaneous. Unless specifically excepted or contained within a pharmaceutical product
           approved by the United States Food and Drug Administration, or unless listed in another schedule, any
           material, compound, mixture, or preparation which contains any quantity of the following substances
           including its salts, isomers, or salts of isomers, whenever the existence of such salts, isomers, or salts of
           isomers is possible within the specific chemical designation:
                    (1) Mitragynine
                    (2) 7-Hydroxy-mitragynine
                                                             SCHEDULE V
                    A. Narcotic drugs containing nonnarcotic active medicinal ingredients. Any compound, mixture, or
           preparation containing any of the following limited quantities of narcotic drugs or salts thereof, which shall
           include one or more nonnarcotic active medicinal ingredients in sufficient proportion to confer upon the
Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 11 of 13
           compound, mixture, or preparation valuable medicinal qualities other than those possessed by the narcotic
           drug alone:
                    (1) Not more than 200 milligrams of codeine per 100 milliliters or per 100 grams.
                    (2) Not more than 100 milligrams of dihydrocodeine per 100 milliliters or per 100 grams.
                    (3) Not more than 100 milligrams of ethylmorphine per 100 milliliters or per 100 grams.
                    (4) Not more than 2.5 milligrams of diphenoxylate and not less than 25 micrograms of atropine
           sulphate per dosage unit.
                    (5) Not more than 100 milligrams of opium per 100 milliliters or per 100 grams.
                    (6) Not more than 0.5 milligrams of difenoxin and not less than 25 micrograms of atropine sulfate per
           dosage unit.
                    B. Narcotic drugs. Unless specifically excepted or unless listed in another schedule, any material,
           compound, mixture, or preparation containing any of the following narcotic drugs and their salts, as set forth
           below:
                    (1) Repealed by Acts 2006, No. 54, §2.
                    C. Stimulants. Unless specifically exempted or excluded or unless listed in another schedule, any
           material, compound, mixture, or preparation which contains any quantity of the following substances having
           a stimulant effect on the central nervous system, including its salts, isomers, and salts of isomers:
                    (1) Pyrovalerone
                    D. Depressants. Unless specifically exempted or excluded or unless listed in another schedule, any
           material, compound, mixture, or preparation which contains any quantity of the following substances having
           a depressant effect on the central nervous system, including its salts:
                    (1) Brivaracetam (2-[2-oxo-4-propylpyrrolidin-1-yl]butanamide), also referred to as BRV; UCB-
           34714; Briviact.
                    (2) Cenobamate (1-(2-chlorophenyl)-2-(tetrazol-2-yl)ethylcarbamate)
                    (3) Ezogabine
                    (4) Lacosamide
                    (5) Lasmiditan (2,4,6-trifluoro-N-(6-(1-methylpiperidine-4-carbonyl) pyridine-2-yl-benzamide)
                    (6) Pregbalin
                    E.(1) Ephedrine, pseudoephedrine, phenylpropanolamine. Unless listed in another schedule, any
           material, compound, mixture, or preparation containing any detectable quantity of ephedrine,
           pseudoephedrine, or phenylpropanolamine, their salts or optical isomers, or salts of optical isomers.
                    (2)(a) Nonprescription products containing ephedrine, pseudoephedrine, or phenylpropanolamine
           shall not be sold or distributed in a quantity greater than nine grams of ephedrine base, pseudoephedrine base,
           or phenylpropanolamine base to the same purchaser within any thirty-day period.
                    (b) Notwithstanding the prescription requirements for Schedule V controlled dangerous substances as
           provided for in R.S. 40:978(C), nonprescription products containing ephedrine, pseudoephedrine, or
           phenylpropanolamine may be dispensed without a prescription.
                    (3)(a) No person shall purchase, receive, or otherwise acquire more than nine grams of ephedrine
           base, pseudoephedrine base, or phenylpropanolamine base within any thirty-day period.
                    (b) This limit shall not apply to any quantity of such product, mixture, or preparation dispensed
           pursuant to a valid prescription written by a licensed healthcare professional having prescriptive authority.
                    (4) Wholesale drug distributors licensed by the Louisiana Board of Drug and Device Distributors and
           registered with the United States Drug Enforcement Administration shall be exempt from the storage,
           reporting, record keeping, and physical security requirements for controlled dangerous substances for
           nonprescription products containing ephedrine, pseudoephedrine, and phenylpropanolamine which are not
           listed in another schedule.
                    (5) Except for sales log requirements and the transmittal of transaction information to the central
           computer monitoring system authorized by the provisions of Part X-F of Chapter 4 of Title 40 of the
           Louisiana Revised Statutes of 1950, pharmacies and pharmacists licensed by the Louisiana Board of
           Pharmacy and registered with the United States Drug Enforcement Administration shall be exempt from the
           storage, reporting, record keeping, and physical security requirements for controlled dangerous substances for
           nonprescription products containing ephedrine, pseudoephedrine, or phenylpropanolamine which are not
           listed in another schedule.
                    (6) The transaction information provided for in R.S. 40:1049.3 for the purchase of a nonprescription
           product containing ephedrine, pseudoephedrine, or phenylpropanolamine shall constitute an "order from a
           practitioner" as provided for in R.S. 40:970(C). Possession of a nonprescription product containing
           ephedrine, pseudoephedrine, or phenylpropanolamine pursuant to a valid transaction as provided for in R.S.
           40:1049.3 shall be a defense for a violation of R.S. 40:970(C).
                    F. Hallucinogens. (1) (2-[3-Methyl-6-(1-methylethenyl)-2-cyclohexen-1-yl]-5-pentyl-1,3-
           benzenediol) cannabidiol when contained in a drug product approved by the United States Food and Drug
           Administration.
                    NOTE: Subsection (G) eff. when the United States Drug Enforcement Administration
                    classifies Mitragynine as a Schedule V Controlled Dangerous Substance. See Acts 2019, No.
                    231.
                    G. Miscellaneous. Unless specifically excepted or contained within a pharmaceutical product
           approved by the United States Food and Drug Administration, or unless listed in another schedule, any
           material, compound, mixture, or preparation which contains any quantity of the following substances
           including its salts, isomers, or salts of isomers, whenever the existence of such salts, isomers, or salts of
           isomers is possible within the specific chemical designation:
                    (1) Mitragynine
                    (2) 7-Hydroxy-mitragynine
                    Amended by Acts 1991, No. 513, §§1, 3; Acts 1991, No. 842, §1, eff. July 23, 1991; Acts 1993, No.
           156, §§1, 2; Acts 1993, No. 288, §1; Acts 1993, No. 616, §1; Acts 1997, No. 398, §1; Acts 1998, 1st Ex.
Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 12 of 13
           Sess., No. 129, §1; Acts 1999, No. 582, §1; Acts 1999, No. 755, §§1 and 2; Acts 2000, 1st Ex. Sess., No. 13,
           §1, eff. April 13, 2000; Acts 2001, No. 282, §§1 and 2; Acts 2001, No. 1036, §1; Acts 2004, No. 702, §1;
           Acts 2006, No. 54, §§1, 2; Acts 2006, No. 56, §1; Acts 2008, No. 67, §§1, 2; Acts 2009, No. 153, §1; Acts
           2009, No. 165, §1; Acts 2009, No. 314, §1; Acts 2010, No. 565, §1; Acts 2010, No. 810, §§1, 2; Acts 2010,
           No. 866, §1; Acts 2011, No. 420, §§1, 2, eff. July 15, 2011; Acts 2012, No. 315, §1; Acts 2012, No. 345, §1,
           eff. May 28, 2012; Acts 2013, No. 7, §1; Acts 2013, No. 8, §1; Acts 2014, No. 40, §1; Acts 2014, No. 43, §1;
           Acts 2014, No. 397, §§1, 2; Acts 2015, No. 189, §§1, 2, eff. June 23, 2015; Acts 2015, No. 373, §1, eff. July
           1, 2015; Acts 2016, No. 62, §1; Acts 2017, No. 100, §1; Acts 2018, No. 119, §1; Acts 2018, No. 206, §4;
           Acts 2019, No. 231, §§1, 2, 3, 4, 5; Acts 2019, No. 354, §1; Acts 2020, No. 10, §1.
                    *NOTE: Asterisks in Schedule I(A) and (B) indicate substances which are narcotics.


              If you experience any technical difficulties navigating this website, click here to contact the webmaster.
                           P.O. Box 94062 (900 North Third Street) Baton Rouge, Louisiana 70804-9062




Case 3:21-cv-00069-RJC-DCK Document 1-5 Filed 02/12/21 Page 13 of 13
